IN DEFENSE OF ANIMALS,

THE UNITED STATES DEPARTMENT
OF AGRICULTURE

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Plaintiff,

v. No. 02-1557 (RWR)

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Defendant.

DECLARATION OF LESIA M. BANKS

I, Lesia M. Banks, state as follows:

1.

I am employed as the Assistant Director, Freedom of Information Staff, Legislative and
Public Affairs, in the Animal and Plant Health Inspection Service (APHIS), United States
Department of Agriculture (USDA). Prior to joining APHIS, I served in various Freedom
of Information Act (FOIA)/Privacy Act (PA) related positions to include: Privacy Act
Officer for USDA, Chief of the Access Litigation and Freedom of Information Branch for
the Food and Drug Administration and Branch Chief, Freedom of Information Staff, at
the Securities and Exchange Commission. I also served as a FOIA Specialist in the
Office of Information and Privacy at the United States Department of Justice. In my
current position, I am responsible for administering the FOIA and PA for the following
APHIS components: Legislative and Public Affairs (LPA), Animal Care (AC),
Biotechnology Regulatory Services (BRS), Civil Rights Enforcement & Compliance
(CREC), International Services (IS), Office of the Administrator (OA), Plant Protection
and Quarantine (PPQ), Veterinary Services (VS), Wildlife Services (WS), and Marketing
& Regulatory Programs Business Services (MRPBS). My duties include reviewing for
disclosure responses to FOIA and PA requests. I have been administering the FOJA and
PA for the APHIS components since January 3, 2005. Accordingly, I am familiar with
the organizational structure and responsibilities of the APHIS components. I supervise
Hugh Gilmore, also of the Freedom of Information Staff.

I make the statements herein on the basis of personal knowledge, as well as on
information acquired by me in the course of performing my official duties.

Information Withheld Under Exemption 4

As stated in Hugh Gilmore’s Second Declaration, generally speaking the information
withheld pursuant to Exemption 4 falls into two broad categories: information that

 
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describes the design of and methods used in scientific tests conducted by Huntingdon on
behalf of its clients, and information that characterizes the physiological and health
effects of the proprietary experimental compounds tested by Huntingdon on behalf of its
clients (i.e. the test results). Because it was determined that the release of such
information would cause Huntingdon substantial competitive harm, any information
falling within these two categories was withheld pursuant to Exemption 4. Moreover,
information describing Huntingdon’s test designs and methods, which would reveal
Huntingdon’s special and unique procedures for conducting its tests, were withheld as
trade secrets under Exemption 4. There are also miscellaneous records that do not fall
into these two general categories, which also contains information that falls under the
protection of Exemption 4 of the FOIA. All other reasonably segregable nonexempt
information was released to the plaintiff.

Information describing test designs and methods. The following information
concerning the design of and methods used in scientific tests conducted by Huntingdon
on behalf of its clients was withheld pursuant to Exemption 4:

A. Final Test Reports and Related Records (124 pages withheld in full). Portions
of these records contain detailed descriptions of the designs and methods used in
Huntingdon’s laboratory studies, and essentially recapitulate much of the
information contained in the testing protocols described above. Such information
includes: the objectives and procedures stated in the testing protocol; a description
of the experimental proprietary compound tested; a description of the testing
methods used; a description of the dosage, dosing regimen, and route of
administration; the stability of the experimental compound under the conditions of
administration; a description of all circumstances that may have affected the
quality or integrity of the data generated by the test; the statistical methods
employed for analyzing the data; and a summary of the data analysis, including a
statement of the conclusions drawn from that analysis. These records were
withheld in full because, in addition to containing information about the
confidential test protocols described above, they contain characterizations of the
physiological and health effects of proprietary experimental compounds tested by
Huntingdon which, as discussed below, are also exempt from disclosure. Thus,
they contain no reasonably segregable nonexempt information. See Vaughn
Index Category Final Test Reports and Related Records, Bates Stamps
LSR0029-LSR1974.

B. Institutional Animal Care and Use Committee (IACUC) Records (56 pages
released in part). These records consist of IACUC meeting minutes, memoranda,
and inspection reports. They contain discussions of issues related to the
implementation of the confidential standard operating procedures and test
protocols described above. They also contain detailed descriptions of
Huntingdon’s research facilities and equipment (including planned capital
improvements thereto), its information technology systems, and its employee
training programs. Release of all items not segregated and released to the Plaintiff

 
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under cover of letter dated June 15, 2005, would reveal confidential commercial
information about Huntingdon’s general business practices and its research
operations. See Vaughn Index Category Institutional Animal Care and Use
Committee (IACUC) Records, Bates Stamps LSR2102-LSR2231. The
Vaughn Index indicates that these pages were withheld in full. However, in a
letter dated June 15, 2005, APHIS sent, with redactions, all 58 pages of the
IACUC records that were previously withheld in full under a cover letter to
Katherine Meyer.

5. Information that describes the results of the tests. Information that characterizes the
physiological and health effects of the proprietary experimental compounds tested by
Huntingdon were withheld pursuant to Exemption 4 as well. This information, which
was generated, collected, and analyzed using the confidential designs and methods
contained in the standard operating procedures and test protocols described above,
consists of:

A. Clinical Observation Raw Data Reports (121 pages withheld in full). These
pages contain raw data from the tests conducted by Huntingdon. Inasmuch as
they contain no information other than raw data, they contain no reasonably
segregable nonexempt information. See Vaughn Index Category Clinical
Observation Raw Data Reports , Bates Stamps LSR1294-LSR2126.

B. Interim Test Reports (22 pages withheld in full). These mid-study status reports
contain summaries of clinical observation taken during the tests, including:
urinalysis, blood pressure, hematology, clinical chemistry, food and fluid intake,
fecal and fluid output, body weight, mortality, and other physical observations
taken of the test subjects. Inasmuch as these records consist entirely of clinical
observations that characterize the physiological and health effects of the
proprietary experimental compounds tested by Huntingdon, they contain no
reasonably segregable nonexempt information. See Vaughn Index Category
Interim Test Reports, Bates Stamps LSR1706-LSR1910.

C. Necropsy and Postmortem Examination Reports (23 pages withheld in full).
These records consist of observations that were taken through necropsy or
postmortem examinations of the test subjects, and describe the physiological and
health effects of proprietary experimental compounds test on them. They contain
no reasonably segregable nonexempt information. See Vaughn Index Category
Necropsy and Postmortem Examination Reports, Bates Stamps LSR1313-
LSR2130.

D. Viability Records (397 pages released in part, 58 pages withheld in full). These
are charts on which clinical observations of the condition of test subjects taken
during testing are recorded.

(1) On the 397 pages of viability records released in part, the above-

 
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described confidential commercial information—including clinical
observations that would reveal the physiological and health effects
of the tested compounds—were withheld. Observations that did not
appear to reveal anything about the test results were segregated and
released. For example, observations about conditions clearly
caused by things other than the tested compounds-such as subjects
being bitten by other subjects and subjects being injured by getting
caught in their cages—were released. Examples of this segregation
can be seen on pages LSR0414 (“Animals axillary area was caught
on cage bar’) and LSR2363 (“Small laceration tail tip—no
treatment required), in which this type of information was released.
See Vaughn Index Category Viability Records, Bates Stamps
LSR0142-LSR2373.

(2) However, 58 pages of viability records were withheld in full
because, in addition to containing clinical observations about the
physiological and health effects of the tested compounds, their very
structure reveals the test results. These records consist of charts for
recording written clinical observations taken during the test.
Within those charts are numerous preprinted columns for recording
anticipated side effects specific to the test compounds themselves.
Thus, the very structure of these charts reveals the anticipated
results of the tests in which they were used. Because nothing of
informational value would have remained on these charts after the
excision of the clinical observations and the columns that reveal
anticipated results of the tests, they were withheld in full. See
Vaughn Index Category Viability Records, Bates Stamps
LSR0317-LSR1100.

E, Veterinary Treatment Requests and Logs (20 pages released in part, 94 pages
withheld in full). These records describe treatments requested for and provided to
the test subjects. Most of these records concern treatments that were requested
and provided to alleviate reactions of side effects caused by the tested compounds,
yet some of these records concern treatments that were requested and provided to
address conditions apparently not linked to the tests themselves.

(1) Only those portions containing the above-described confidential
business information—including observations of symptoms and side
effects that reveal the physiological and health effects of the tested
compounds-—was excised from the 20 pages released in part. The
remaining portions of these records were released because they
describe symptoms and treatments that do not reveal anything
about the physiological and health effects of proprietary
experimental compounds. Some of these effects were caused by
circumstances other than the administration of test

 
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compounds-such as subjects being bitten by other subjects,
subjects being injured by getting caught in their cages, or subjects
being injured while loose from their cages—so their release does not
reveal anything about the test compounds. Examples of this
segregation can be seen on pages LSR0414 (“Animals axillary area
was caught on cage bar”) and LSR2363 (“Small laceration tail
tip—no treatment required), in which this type of information was
released. In other instances, the side effects and their treatments
were described too generally to be linked to the tested compound.
Accordingly, such nonexempt information was segregated and
release. See Vaughn Index Category Veterinary Treatment
Requests and Logs, Bates Stamps LSR0140-LSR2376.

(2) However, the remaining 94 pages of veterinary records contained
no reasonably segregable information. These records provide
detailed descriptions of symptoms resulting from the
administration of the tested compounds and the treatments
provided to alleviate those symptoms. The release of this
information would reveal the physiological and health effects of
proprietary experimental compounds, i.e., the very information that
the tests were designed to generate. Given the detailed nature
descriptions of the symptoms and treatments reflected in these
records, no nonexempt information could be reasonably segregated
and released from them. See Vaughn Index Category
Veterinary Treatment Requests and Logs, Bates Stamps
LSR0226-LSR2381.

F, Internal Huntingdon Memoranda (7 pages withheld in part, 33 pages withheld
in full). These memoranda consist of discussions of issues that arose during the
course of tests conducted pursuant to the confidential standard operating
procedures and test protocols described above. Inasmuch as these discussions
concern the use of test designs and methods in light of observations taken during
the tests (all of which are exempt), these memoranda contain no reasonably
segregable nonexempt information. See Vaughn Index Category Internal
Huntingdon Memoranda, Bates Stamps LSR0139-LSR2062.

G. Internal USDA Investigatory Memoranda (27 pages released in part). These
memoranda discuss the bases for each charge that USDA contemplated bringing
against Huntingdon for violations of the Animal Welfare Act. Although these
records could have been withheld in their entireties under the deliberative process
privilege pursuant to Exemption 5, only those portions containing the above-
described confidential business information were withheld, pursuant to Exemption
4. See Vaughn Index Category Internal USDA Investigatory Memoranda,
Bates Stamps LSR001-LSR2272.

 
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H. Observation Sheets (28 pages withheld in full). These records relate to physical
observations of animals in the studies described above over a particular period of
time. These observations relate to items required by the Standard Operating
procedures for the particular study. Inasmuch as release of these records would
reveal standard operating procedures, they contain no reasonably segregable

- nonexempt information. See Vaughn Index Category Observation Sheets,
Bates Stamps LSR0313-LSR2165.

Miscellaneous Records (7 pages released in part). These records contain study number
and amounts projected and spent by Huntingdon on primate cages. All other information
was released except for information that is no longer at issue, including client names and
information withheld under Exemptions 6 and 7(C). See Vaughn Index Category
Miscellaneous Records, Bates Stamps LSR0228-LSR0472.

Release of Information Describing Huntingdon’s Test Designs and Methods Would
Cause Substantial Competitive Harm. The release of information that describes the
design of and methods used in tests conducted by Huntingdon would cause it substantial
competitive harm by providing its competitors with unfair business advantages. First,
these records are the “blueprints” for Huntingdon’s research services; they describe the
special and unique test designs and methods that are the product of decades of
Huntingdon’s business evolution, and they reflect the substantial scientific and technical
expertise that its employees have developed over that time. As discussed above, these
records describe in explicit detail nearly every aspect of Huntingdon’s business. Thus,
providing competitors with information revealing Huntingdon’s test designs and methods
would allow them to replicate Huntingdon’s research services without investing the same
amount of time, effort, and money that Huntingdon expended in developing them.
Because competitors would be able to unfairly appropriate the fruits of this substantial
investment at little or no cost to themselves, their competing services would likely be
marketed at prices significantly below those charged by Huntingdon, thus causing
Huntingdon substantial competitive harm through the erosion of its market share.

Release of Information That Describes the results of Huntingdon’s Tests Would
Cause Substantial Competitive Harm.

A. The release of information that characterizes the physiological and health effects
of proprietary experimental compounds tested by Huntingdon (..e., the test results)
would cause substantial competitive harm to Huntingdon. This information was
collected and analyzed in accordance with methods and procedures established in
Huntingdon’s standard operating procedures and test protocols, which govern the
collection of test data through observations of reactions to the test materials, the
collection of specimens from the test subjects, and necropsy and postmortem
examinations of the test subjects. The raw test reports, necropsy and postmortem
examination reports, final test reports, viability records, and veterinary treatment
logs all contain information that was collected or analyzed using those _
confidential procedures and methods. Thus, the release of these records would

 

 
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reveal not only the test data, but also the confidential methods and procedures
used to generate them. As discussed above, the release of information that reveals
the Huntingdon’s test procedures and methods would cause Huntingdon
substantial competitive harm by allowing competitors to appropriate those
procedures and methods to develop their own competing research services.
Therefore, inasmuch as these records reveal Huntingdon’s confidential procedures
and methods for collecting and analyzing test data generated by its research
services, they were withheld pursuant to Exemption 4.

B. The release of information that describes the physiological and health effects of
the proprietary experimental compounds of Huntingdon’s clients would cause
substantial competitive harm to those clients. These test results are an important
preliminary step in assessing the performance of experimental compounds that
may eventually be marketed to the public. Release of this information would
allow competitors to identify the compounds that performed well in the tests
conducted by Huntingdon, and those that did not. As such, this information
would give the competitors of Huntingdon’s clients a “head start” in developing
competing products, because they would be able to focus their own research and
development efforts on those compounds that have promise; conversely,
competitors would be able to avoid wasting their research and development
resources on “dead ends,” because these records would identify compounds that
did not warrant further investigation because of their poor performance on the
tests. Thus, the release of this information would cause substantial competitive
harm to Huntingdon’s clients because their competitors would be able to expend
less time, effort, money, and resources in researching and developing their own
competing products. Such competing products likely would be marketed sooner
and at lower prices because their producers would not have to recapture the
research and development costs that Huntingdon’s clients paid for the services
that generated the test results at issue in this case. Accordingly, this information
was withheld pursuant to Exemption 4 because its release would cause substantial —
competitive harm.

Huntingdon’s Test Designs and Methods are Trade Secrets Under Exemption 4. In
addition to causing substantial competitive harm, the release of information concerning
Huntingdon’s test designs and methods would reveal Huntingdon’s trade secrets. As
noted above, these records contain designs and methods that are essentially the
“blueprint” for the research that Huntingdon conducts. These designs and methods are
the product of decades of Huntingdon’s business evolution, and are the product of the
significant expertise that its employees have developed over that time. Moreover, these
designs and methods have significant value, in that they were used to conduct research
that was sold for hundreds of thousands of dollars to clients in the pharmaceutical,
biotechnology, medical device, and chemical industries. Therefore, information
concerning Huntingdon’s test designs and methods were withheld under Exemption 4
because they are trade secrets.
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Pursuant to 28 U.S.C. 1746, I declare under the i of perjury that the foregoing is true and
correct to the best of my knowledge.

Dated: Dus, 005
Lesia M. ih.

 

Assistant Director

Freedom of Information

Legislative and Public Affairs

Animal and Plant Health Inspection Service

 
